       Case 8:23-ap-01046-SC                    Doc      Filed 07/10/23 Entered 07/10/23 14:33:51                                Desc Main
                                                        Document     Page 1 of 30



 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &     FOR COURT USE ONLY
 Email Address

 Christopher B. Ghio (State Bar No. 259094)
 Christopher Celentino (State Bar No. 131688)
 Yosina M. Lissebeck (State Bar No. 201654)
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    Individual appearing without attorney Attorney for:
    Special Counsel to Richard A. Marshack, Chapter 11 Trustee

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVSION                                       DIVISION

 In re:                                                                     CASE NO.: 8:23-bk-10571-SC
 THE LITIGATION PRACTICE GROUP P.C.,
                                                                            CHAPTER: 11

                                                                            AMENDED NOTICE OF MOTION FOR:
                                                                            AMENDED CHAPTER 11 TRUSTEE’S
                                                                            MOTION TO APPROVE MANAGEMENT
                                                                            AGREEMENT WITH RESOLUTION
                                                                            PROCESSING; MEMORANDUM OF POINTS
                                                                            AND AUTHORITIES; DECLARATION OF
                                                                            RICHARD A. MARSHACK IN SUPPORT
                                                                            THEREOF; AND EXHIBITS

                                                                            DATE:     August 10, 2023
                                                                            TIME:     10:00 a.m.
                                                                            COURTROOM: 5C
                                                                            PLACE:     411 West Fourth Street
                                                                                       Santa Ana, California 9270

                                                              Debtor(s).

1. TO (specify name): TO ALL PARTIES IN INTEREST

2. NOTICE IS HEREBY GIVEN that on the following date and time and in the indicated courtroom, Movant in the above-
   captioned matter will move this court for an Order granting the relief sought as set forth in the Motion and
   accompanying supporting documents served and filed herewith. Said Motion is based upon the grounds set forth in
   the attached Motion and accompanying documents.

3. Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
   have one. (If you do not have an attorney, you may wish to consult one.)




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                          Page 1                             F 9013-1.1.HEARING.NOTICE
      Case 8:23-ap-01046-SC                   Doc      Filed 07/10/23 Entered 07/10/23 14:33:51                                Desc Main
                                                      Document     Page 2 of 30


4. Deadline for Opposition Papers: This Motion is being heard on regular notice pursuant to LBR 9013-1. If you wish
   to oppose this Motion, you must file a written response with the court and serve a copy of it upon the Movant or
   Movant’s attorney at the address set forth above no less than fourteen (14) days prior to the above hearing date. If
   you fail to file a written response to this Motion within such time period, the court may treat such failure as a waiver of
   your right to oppose the Motion and may grant the requested relief.

5. Hearing Date Obtained Pursuant to Judge’s Self-Calendaring Procedure: The undersigned hereby verifies that
   the above hearing date and time were available for this type of Motion according to the judge’s self-calendaring
   procedures.


Date: July 10, 2023                                                             Dinsmore & Shohl LLP
                                                                               Printed name of law firm




                                                                                Yosina M. Lissebeck
                                                                               Signature


                                                                                /s/ Yosina M. Lissebeck
                                                                               Printed name of attorney




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December 2012                                                        Page 2                              F 9013-1.1.HEARING.NOTICE
Case 8:23-ap-01046-SC    Doc    Filed 07/10/23 Entered 07/10/23 14:33:51   Desc Main
                               Document     Page 3 of 30



  1   Christopher B. Ghio (State Bar No. 259094)
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  7
      Proposed Special Counsel to Richard A. Marshack, Chapter 11 Trustee
  8

  9                      UNITED STATES BANKRUPTCY COURT
 10                      CENTRAL DISTRICT OF CALIFORNIA
 11                                SANTA ANA DIVISION
 12

 13   In re:                                     Case No. 8:23-bk-10571-SC

 14 THE LITIGATION PRACTI                        Chapter 11
      CE                                         AMENDED CHAPTER 11 TRUSTEE’S
 15 GROUP P.C.,
               Debtor.                           MOTION TO APPROVE
 16                                              MANAGEMENT AGREEMENT
                                                 WITH RESOLUTION
 17                                              PROCESSING; MEMORANDUM
                                                 OF POINTS AND AUTHORITIES;
 18                                              DECLARATION OF RICHARD A.
                                                 MARSHACK IN SUPPORT
 19                                              THEREOF; AND EXHIBITS

 20                                              Date:        August 10, 2023
                                                 Time:        10:00 a.m.
 21
                                                 Judge:       Hon. Scott C. Clarkson
 22                                              Place:       Courtroom 5C
                                                              411 West Fourth Street
 23                                                           Santa Ana, California 92701
 24

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      #31219851v2
                              Case 8:23-ap-01046-SC     Doc    Filed 07/10/23 Entered 07/10/23 14:33:51    Desc Main
                                                              Document     Page 4 of 30



                                1          Richard A. Marshack, the Chapter 11 Trustee (the “Trustee”) of debtor The
                                2   Litigation Practice Group, P.C. (“LPG” or the “Debtor”) in the above-captioned
                                3   bankruptcy case (the “Case”), files this Motion (the “Motion”) for entry of an order
                                4   that approves the management agreement with Resolution Processing based on the
                                5   following:
                                6          1.     On March 20, 2023 (the “Petition Date”), debtor LPG filed a voluntary
                                7   petition for relief under chapter 11 of Title 11 of the United States Code (the
                                8   “Bankruptcy Code”), commencing the above-captioned bankruptcy case (the
                                9   “Case”). See Pet., ECF No. 1. On May 4, 2023, the Bankruptcy Court entered an
                               10   Order Directing United States Trustee to Appoint Chapter 11 Trustee [Docket No.
                               11   58], and on May 8, 2023, the Trustee filed his Acceptance of Appointment as Chapter
Phoenix, Arizona 85004-2555




                               12   11 Trustee [Docket No. 63]. The Court entered the Order Approving the U.S.
  1 East Washington Street
     Ballard Spahr LLP




                               13   Trustee’s Application for the Appointment of a Chapter 11 Trustee on the same date
         Suite 2300




                               14   [Docket No. 65], and the Trustee has continued to serve in this capacity and for the
                               15   protection of all creditors and consumer clients since this date.
                               16          2.     On May 25, 2023, the Trustee filed his Adversary Complaint initiating
                               17   what is now Adversary Proceeding 8:23-ap-01046-SC (“1046 Action”), Docket No.
                               18   1. Filed concurrently with Trustee’s Adversary Complaint, the Trustee sought
                               19   emergency omnibus relief seeking among other things, a temporary restraining order
                               20   for the turnover and preservation of critical operating information, client
                               21   information, accounts, ACH processing accounts, bank accounts and client funds.
                               22   1046 Action, Docket Nos. 3-8. Exigent circumstances appearing, the Court issued
                               23   a detailed ruling granting Trustee’s relief with few exceptions or modification. On
                               24   May 26, 2023, the Court issued the order on Trustee’s Emergency Omnibus motion
                               25   and set a status conference and preliminary injunction hearing for June 12, 2023.
                               26   Bankr. Docket No. 13 and 21 amended to correct an address contained therein.
                               27          3.     As stated in greater detail in the Trustee’s Complaint filed in the 1046
                               28   Action and incorporated by reference herein, the Debtor is a law firm that provided

                                                                              1
                                    #31219851v2
                              Case 8:23-ap-01046-SC          Doc    Filed 07/10/23 Entered 07/10/23 14:33:51             Desc Main
                                                                   Document     Page 5 of 30



                                1   consumer debt resolution services. One aspect of the services sought by Debtor’s
                                2   consumer clients included being provided attorney services to handle pending
                                3   litigation, whether on the defense or offensive side of the pleading, address creditors
                                4   threating litigation and or debt collection agencies engaging in unfair debt collection
                                5   practices pursuant to the Fair Debt Collection Practices Act (“FDCPA”),
                                6   California’s Rosenthal Fair Debt Collection Practices Act (“Rosenthal Act”) among
                                7   others. Functions that can only be handled by an attorney and whose services would
                                8   otherwise not be affordable. Other services provided by Debtor, included settlement
                                9   negotiations and debt invalidation strategies
                               10             3.      This Motion seeks a Court order authorizing the Trustee to enter into a
                               11   written Management Agreement ("Agreement") with Resolution Processing
Phoenix, Arizona 85004-2555




                               12   (“Manager”). A copy of the proposed Agreement is attached to the Declaration of
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                               13   Richard Marshack ("Marshack Decl.") as Exhibit A. The terms of the Agreement are
         Suite 2300




                               14   summarized1 as follows:
                               15                  a. To conduct all activities required by the “Order on Trustee, Richard A.
                               16   Marshack’s Omnibus Emergency Motion for: 1) Turnover of Estate Property and
                               17   Recorded Information Pursuant to 11 U.S.C. § 542; 2) Preliminary Injunction; 3)
                               18   Lock-Out; 4) Re-Direction of United States Parcel Services Mail; 5) Order to Show
                               19   Cause re Compliance with Court Order; and 6) Other Relief as Necessary to Efficient
                               20   Administration of This Matter” issued by the Court in the Case and dated May 26,
                               21   2023" (“Order”), including but not limited to:
                               22                        i. Prohibit access in accordance with the Lockout Order, as
                               23                            described on pages 8–9 of the Order.
                               24                        ii. Instruct the United States Postal Service to re-direct mail, as
                               25                            described on page 9 of the Order.
                               26                       iii. Notice to the Business’s clients, as described on page 10 of the
                               27                            Order.
                               28
                                    1
                                        This is a summary only, all terms are set forth in the Agreement, attached as an exhibit.

                                                                                       2
                                    #31219851v2
                              Case 8:23-ap-01046-SC      Doc    Filed 07/10/23 Entered 07/10/23 14:33:51      Desc Main
                                                               Document     Page 6 of 30



                                1          b.      All revenues collected by or that come into Manager’s possession from
                                2   the operation of the Business shall constitute property of the Bankruptcy Estate. All
                                3   such funds shall be deposited into a segregated account for which Trustee shall have
                                4   exclusive signature authority and shall not be commingled with any other funds.
                                5   Disbursement of such funds for expenses must be requested in writing by Manager
                                6   and approved by Trustee.
                                7          c.      To avoid conducting any activities that violate the Order or other
                                8   applicable law.
                                9          d.      To conduct all activities of the Business for the exclusive benefit of the
                               10   Bankruptcy Estate (except as to the payment of Manager’s fees, which shall be for
                               11   the benefit of Manager).
Phoenix, Arizona 85004-2555




                               12          e.      To hire (subject to availability of necessary funds) or dismiss
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                               13   employees or contractors for the Business as necessary in Manager’s discretion to
         Suite 2300




                               14   run the day-to-day operation of the Business, but only after obtaining the consent of
                               15   the Trustee.
                               16          f.      To assure that the employment, payroll, and other similar employee
                               17   related taxes are paid in a timely manner on behalf of the Trustee, subject to
                               18   availability of necessary funds, and Trustee approval of expenditure of same.
                               19          g.      To manage and operate the Business in a businesslike manner governed
                               20   by the reasonable prudent business standard, and in compliance with all applicable
                               21   local, state, and federal ordinances, laws, and regulations, and subject to availability
                               22   of necessary funds, and Trustee approval of expenditure of same.
                               23          h.      To pay, subject to availability of necessary funds, all wages,
                               24   commissions, fees for utilities, withholding taxes, business and property taxes, and
                               25   all other expenses, insurance, taxes, and maintenance and repair costs regarding the
                               26   Business, attributable to the term hereof, and regarding the Business fixtures,
                               27   equipment, and property, subject to approval of the Trustee.
                               28

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                                    #31219851v2
                              Case 8:23-ap-01046-SC     Doc    Filed 07/10/23 Entered 07/10/23 14:33:51      Desc Main
                                                              Document     Page 7 of 30



                                1          i.     To cause the operations of the Business to be performed during all
                                2   reasonably scheduled operating hours and during all normal operating days of the
                                3   week, subject to availability of necessary funds as approved by the Trustee.
                                4          j.     To deposit all receipts from the activities of the Business in the bank
                                5   depositories selected by Trustee.
                                6          k.     To perform, subject to availability of necessary funds and the consent
                                7   of the Trustee, such other and further duties which are consistent with the
                                8   management of the activities of the Business in the ordinary course thereof.
                                9          l.     To keep proper records of all income, expenses, and of all transactions
                               10   relative to the operation of the Business, and to furnish to Trustee on a monthly basis,
                               11   financial statements and related reports related to the operation of the Business.
Phoenix, Arizona 85004-2555




                               12   Manager acknowledges that all books and records regarding operation of the
  1 East Washington Street
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                               13   Business shall be maintained as Richard Marshack, Trustee of the Estate of
         Suite 2300




                               14   Litigation Practice Group.
                               15          m.     To pay current rent as it falls due on any lease(s) of property, real or
                               16   personal, used by the Business, except for any non-payment based on a good-faith
                               17   and bona fide dispute, subject to availability of necessary funds as approved by the
                               18   Trustee.
                               19          n.     To comply with all orders of the Court and all laws applicable to LPG
                               20   and the Business
                               21          o.     To preserve all records and documents of the Business and to only use
                               22   software, venders, usernames and passwords approved by the Trustee. Trustee and
                               23   his agents to have full access.
                               24          4.     These services are different than those being conducted by attorney Ty
                               25   Carrs, who is cooperating with the Trustee and continues to oversee all legal services
                               26   for the Debtor’s operations. Mr. Carrs is not part of this Agreement, and Manager
                               27   will not conduct any services that Mr. Carrs is conducting.
                               28

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                                    #31219851v2
                              Case 8:23-ap-01046-SC     Doc    Filed 07/10/23 Entered 07/10/23 14:33:51      Desc Main
                                                              Document     Page 8 of 30



                                1          4.     The Trustee proposes to pay Manager a fee of $60,000.00 per month;
                                2   or $2,000.00 a day, for the first month; said fee to include compensation for both
                                3   Russell Squires and Gary DePew; and $40,000.00 a month thereafter, or $1,333.33
                                4   a day, for the months thereafter; said fee to include compensation for both Russell
                                5   Squires and Gary DePew; but not longer than 3 months total. If Manager does not
                                6   perform for the entire month, the amount will be calculated on a day-to-day basis.
                                7          5.     On the last day of each month, Manager shall provide an itemized
                                8   invoice, in a format reasonably acceptable to Trustee, detailing the payment due to
                                9   Manager. In addition, reasonable general expenses for the Manager, including
                               10   reasonable travel, meals and hotel expenses, will be covered by the Estate, at the
                               11   Trustee’s discretion, and must be included on the invoice.
Phoenix, Arizona 85004-2555




                               12          6.     Manager has acknowledged and agreed that it will not be compensated
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                               13   from any payroll funds and that payment will not be made until after closing of a
         Suite 2300




                               14   sale of Debtor’s assets, or if the Court allows funds to be used by the Estate or the
                               15   Debtor to Operate Business, and entry of a Bankruptcy Court Order approving the
                               16   payment of compensation to manager. Manager further acknowledges that it will be
                               17   paid pro-rata with all other administrative professionals.
                               18          7.     The Agreement may be terminated under the following circumstances
                               19          a.     The non-breaching party may terminate the Agreement upon a material
                               20          breach by the other party of the Agreement, if such breach is not cured
                               21          (assuming it is curable) within thirty (30) calendar days after written notice is
                               22          given to the breaching party.
                               23          b.     The closing of the sale of debtor’s assets;
                               24          c.     The termination by the Court of this Agreement;
                               25          d.     Unilaterally by Trustee; and
                               26          e.     On the date that is the last day of the third month of entry of an order
                               27          approving this agreement
                               28

                                                                                 5
                                    #31219851v2
                              Case 8:23-ap-01046-SC      Doc    Filed 07/10/23 Entered 07/10/23 14:33:51         Desc Main
                                                               Document     Page 9 of 30



                                1          8.     Russ Squires, the principal of Resolution Processing, is also involved
                                2   in the purchase of debtor’s assets. However, the Trustee is negotiating the sale with
                                3   another potential purchaser as well. Manager’s assistance and expertise in
                                4   continuing to operate the debtor is of far more benefit to the estate, than any
                                5   perceived interested party relationship.
                                6                 MEMORANDUM OF POINTS AND AUTHORITIES
                                7          Bankruptcy Code Sections 1107 and 1108 authorize a debtor in possession, or
                                8   Chapter 11 Trustee, to operate its business and manage its affairs in the ordinary
                                9   course of business. Bankruptcy Code Section 363 authorizes a trustee to use property
                               10   of the estate in the ordinary course of business without court approval:
                               11          If the business of the debtor is authorized to be operated under section
                                           ... 1108 . . . of this title and unless the court orders otherwise, the trustee
Phoenix, Arizona 85004-2555




                               12          may enter into transactions, including the sale or lease of property of
  1 East Washington Street




                                           the estate, in the ordinary course of business, without notice or a
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                               13          hearing, and may use property of the estate in the ordinary course of
         Suite 2300




                                           business without notice or a hearing.
                               14

                               15          Bankruptcy Code Section 363(c)(10) thus permits the Trustee to use, sell or
                               16   lease property in the ordinary course of business. The purpose of Section 363 is to
                               17   enable the debtor in possession to engage in ordinary course transactions required to
                               18   operate its business without the unneeded oversight of the creditors or court. Med.
                               19   Malpractice Ins. Ass 'n v. Hirsch (In re Lavigne), 114 F.3d 379, 384 (2d Circ. 1997).
                               20   Section 363(c) includes the debtor's ability to enter into routine transactions
                               21   necessary to the debtor's business operation, including the management of the
                               22   property, payment of expenses, management of payments received and other rated
                               23   services. Amdura Nat'l Distrib. Co. v. Amdura Corp. (In re Amdura Corp.), 75 F.3d
                               24   1447 (10th Cir. 1996). The relief requested by this Motion is also authorized by
                               25   Bankruptcy Code Section 105. Pursuant to section 105(a) of the Bankruptcy Code,
                               26   "[the court may issue any order, process, or appropriate or necessary in aid of the
                               27   exercise of its jurisdiction." 2 Collier on Bankruptcy, 2 1105.01 (15th Ed. 1994).
                               28   Section 105(a) sets out the power of the bankruptcy court to fashion orders as

                                                                                 6
                                    #31219851v2
                              Case 8:23-ap-01046-SC     Doc     Filed 07/10/23 Entered 07/10/23 14:33:51     Desc Main
                                                              Document     Page 10 of 30



                                1   necessary pursuant to the purposes of the Bankruptcy Code. In re Khalil and Shahin
                                2   Chinichian, 784 F.2d 1440 (9th Cir. 1986). See Frasch v. Wilson, 413 F.2d 69, 72
                                3   (9th Cir. 1969). See also, In re Lionel Corp. 722 F.2d 1063, 1069 (2d Cir. 1983)
                                4   (bankruptcy judge must have substantial freedom to tailor his orders to meet
                                5   differing circumstances).
                                6          Based on all of the above, the Trustee submits that the Motion to Approve the
                                7   Management Agreement with Resolution Processing, is a reasonable exercise of the
                                8   Trustee’s business judgment and is in the best interest of the Estate and its creditors.
                                9   The relief allows the Trustee to comply with the Court’s Order, generates income
                               10   for the Estate, provides information to the Trustee, and gives former clients of the
                               11   Debtor the legal services they sought. Most important, it maintains the employees
Phoenix, Arizona 85004-2555




                               12   needed to provide consumers the ability to contact their attorneys and obtain
  1 East Washington Street
     Ballard Spahr LLP




                               13   information related to their cases.
         Suite 2300




                               14          If the Court does not approve the agreement with Manager, Trustee does not
                               15   have an alternative company, who understands the business and the relationships
                               16   that the employees have with the consumer clients. The Debtor would not be able
                               17   to operate and the consumer clients will be stuck in a position of having no one to
                               18   contact or provide them with information related to their cases.
                               19          ///
                               20          ///
                               21          ///
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                                    #31219851v2
                              Case 8:23-ap-01046-SC     Doc     Filed 07/10/23 Entered 07/10/23 14:33:51   Desc Main
                                                              Document     Page 11 of 30



                                1                                      CONCLUSION
                                2          Based upon all of the foregoing, the Trustee respectfully requests the Court
                                3   to enter an order granting the relief requested in the Motion.
                                4

                                5 Dated: July 5, 2023                     Respectfully submitted,
                                6                                         DINSMORE & SHOHL LLP
                                7
                                                                          By:   /s/ Yosina M. Lissebeck
                                8                                               Christopher B. Ghio
                                9                                                Christopher Celentino
                                                                                 Yosina M. Lissebeck
                               10                                            Proposed Special Counsel to
                               11                                            Richard A. Marshack, Chapter 11 Trustee
Phoenix, Arizona 85004-2555




                               12
  1 East Washington Street
     Ballard Spahr LLP




                               13
         Suite 2300




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                                    #31219851v2
                              Case 8:23-ap-01046-SC      Doc     Filed 07/10/23 Entered 07/10/23 14:33:51   Desc Main
                                                               Document     Page 12 of 30



                                1                      DECLARATION OF RICHARD A. MARSHACK
                                2   I, RICHARD A. MARSHACK, declare:
                                3          1.     I am the Chapter 11 Trustee (“Trustee”) for the bankruptcy estate
                                4   (“Estate”) of The Litigation Practice Group, P.C. (“Debtor”) in the above-captioned
                                5   bankruptcy case (“Case”). As such, except as expressly stated otherwise, I have
                                6   personal knowledge of the facts set forth below and could and would competently
                                7   testify under oath thereto if requested to do so.
                                8          2.     I submit this Declaration in support of my Motion to approve
                                9   Management Agreement with Resolution Processing (the “Motion”). Capitalized
                               10   terms not otherwise defined herein have the same meanings ascribed to them in the
                               11   Motion.
Phoenix, Arizona 85004-2555




                               12          3.     The Court may take judicial notice of the following:
  1 East Washington Street
     Ballard Spahr LLP




                               13                 a.     On March 20, 2023, the Debtor filed a voluntary petition for
         Suite 2300




                               14   relief under chapter 11 of the Bankruptcy Code, commencing the Case.
                               15                 b.     After the Office of the United States Trustee (the “UST”) filed
                               16   the Motion by United States Trustee to Dismiss or Convert Case Pursuant to 11
                               17   U.S.C. § 1112(b) [Docket No. 21] and creditors Debt Validation Fund II, LLC; MC
                               18   DVI Fund 1, LLC; and MC DVI Fund 2, LLC filed the Motion by DVF and MC DVI
                               19   to Dismiss Chapter 11 Case Pursuant to 11 U.S.C. §§ 105, 305, 349, & 1112, or in
                               20   the Alternative Convert This Case to Chapter 7 or Appoint a Trustee [Docket No.
                               21   44], on May 4, 2021, the Court entered the Order Directing Unites States Trustee to
                               22   Appoint Chapter 11 Trustee [Docket No. 58], thereby granting the UST’s motion
                               23   and directing the UST to appoint a Chapter 11 Trustee in the Case.
                               24                 c.     Pursuant to the Acceptance of Appointment as Chapter 11
                               25   Trustee [Docket No. 63], on May 8, 2023, I accepted my appointment as the Chapter
                               26   11 Trustee in the Case, and I continue to serve in this capacity at this time.
                               27          4.     To conduct all activities required by the “Order on Trustee, Richard A.
                               28


                                    #31219851v2                                 9
                              Case 8:23-ap-01046-SC     Doc     Filed 07/10/23 Entered 07/10/23 14:33:51     Desc Main
                                                              Document     Page 13 of 30



                                1   Marshack’s Omnibus Emergency Motion for: 1) Turnover of Estate Property and
                                2   Recorded Information Pursuant to 11 U.S.C. § 542; 2) Preliminary Injunction; 3)
                                3   Lock-Out; 4) Re-Direction of United States Parcel Services Mail; 5) Order to Show
                                4   Cause re Compliance with Court Order; and 6) Other Relief as Necessary to Efficient
                                5   Administration of This Matter” issued by the Court in the Case and dated May 26,
                                6   2023" (“Order”), including but not limited to:
                                7                   iv. Prohibit access in accordance with the Lockout Order, as
                                8                       described on pages 8–9 of the Order.
                                9                    v. Instruct the United States Postal Service to re-direct mail, as
                               10                       described on page 9 of the Order.
                               11                   vi. Notice to the Business’s clients, as described on page 10 of the
Phoenix, Arizona 85004-2555




                               12                       Order.
  1 East Washington Street
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                               13   I sought out the services of Manager.
         Suite 2300




                               14          5.     I negotiated the Agreement, summarized above in the Motion. A copy
                               15   of the Agreement is attached as Exhibit A.
                               16          6. The relief sought in the Motion is in the best interests of the Debtor and its
                               17   creditors as it allows me to comply with the Court’s Order, generates income for the
                               18   Estate, provides information to the Estate, and gives former clients of the Debtor the
                               19   legal services they sought. Most important, it maintains the employees needed to
                               20   provide consumers the ability to contact their attorneys and obtain information
                               21   related to their cases.
                               22          I declare under penalty of perjury under the laws of the United States of
                               23   America that the foregoing is true and correct.
                               24

                               25   DATED: July __, 2023
                                                                                           Richard A. Marshack
                               26

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                                    #31219851v2                                10
Case 8:23-ap-01046-SC   Doc     Filed 07/10/23 Entered 07/10/23 14:33:51    Desc Main
                              Document     Page 14 of 30




                               EXHIBIT A




                                                                           EXHIBIT A
                                                                            Page 11
Case 8:23-ap-01046-SC        Doc     Filed 07/10/23 Entered 07/10/23 14:33:51            Desc Main
                                   Document     Page 15 of 30



                                MANAGEMENT AGREEMENT

        This Agreement made this ____ day of July, 2023 (“Agreement Date”), by and between
 RICHARD A. MARSHACK (“Trustee”), solely in his capacity as Chapter 11 Trustee of THE
 LITIGATION PRACTICE GROUP P.C. (“LPG” or “Business”), United States Bankruptcy Court,
 Central District of California (“Court”), Case No. 8:23-bk-10571-SC (“Case”) and
 RESOLUTION PROCESSING, LLC, a Florida limited liability company (“Manager”):

                                           RECITALS

         Whereas, Trustee is the Chapter 11 trustee of LPG, which is a law firm located in the City
 of Tustin, CA; and,

        Whereas, Trustee desires to engage Manager as Trustee's exclusive agent in order to
 provide the Business with Manager's expertise in the supervision, direction, and control of the
 management and operation of the Business, and Manager, for the consideration provided under
 this Agreement, desires to undertake the duties and obligations outlined hereunder.

                                          AGREEMENT

        For good and valuable consideration, including the promises and covenants set forth herein,
 Trustee and Manager agree as follows:

     1. Engagement. This Agreement, subject to bankruptcy court approval, is effective from June
 2, 2023-June 28, 2023 as well as from July 5, 2023 (“Effective Date”), and continuing until the
 earlier of one of the event identified in Section 11 of this Agreement. Manager will operate the
 Business as “manager” in accordance with the terms of this Agreement and likewise, in accordance
 with all applicable laws, ordinances and regulations, including but not limited to, the laws of the
 State of California. The Manager shall have the authority to operate, manage, and supervise the
 Business, and shall act solely as an agent of the Business. Nothing herein shall constitute or be
 construed to be or create a partnership or joint venture as between the parties. By this Agreement,
 Trustee does not in any way assign or transfer any right or obligation of Trustee or the Bankruptcy
 Estate.

     2. Grant of Powers, and Scope of Authority. During the term hereof, Manager (and all
 persons working with Manager) shall owe a fiduciary responsibility to the Trustee and to the
 Business for the benefit of the Bankruptcy Estate until such time as this Agreement is terminated
 as set forth herein. Manager shall have the following duties, powers, and authority with regard to
 management of the Business, PROVIDED, HOWEVER, that all of the following activities be
 conducted in accordance with that certain “Order on Trustee, Richard A. Marshack’s Omnibus
 Emergency Motion for: 1) Turnover of Estate Property and Recorded Information Pursuant to 11
 U.S.C. § 542; 2) Preliminary Injunction; 3) Lock-Out; 4) Re-Direction of United States Parcel
 Services Mail; 5) Order to Show Cause re Compliance with Court Order; and 6) Other Relief as
 Necessary to Efficient Administration of This Matter” issued by the Court in the Case and dated
 May 26, 2023" (“Order”) and in accordance with the Manager’s fiduciary obligations:

            a. To conduct all activities required by the Order, including but not limited to:




                                                                                       EXHIBIT A
                                                                                        Page 12
Case 8:23-ap-01046-SC     Doc     Filed 07/10/23 Entered 07/10/23 14:33:51            Desc Main
                                Document     Page 16 of 30



                 i. Prohibit access in accordance with the Lockout Order, as described on pages
                    8–9 of the Order.

                ii. Instruct the United States Postal Service to re-direct mail, as described on
                    page 9 of the Order.

               iii. Notice to the Business’s clients, as described on page 10 of the Order.

         b. All revenues collected by or that come into Manager’s possession from the
            operation of the Business shall constitute property of the Bankruptcy Estate. All
            such funds shall be deposited into a segregated account for which Trustee shall have
            exclusive signature authority and shall not be commingled with any other funds.
            Disbursement of such funds for expenses must be requested in writing by Manager
            and approved by Trustee, which approval shall not be unreasonably withheld or
            delayed.

         c. To avoid conducting any activities that violate the Order or other applicable law.

         d. To conduct all activities of the Business for the exclusive benefit of the Bankruptcy
            Estate (except as to the payment of Manager’s fees, which shall be for the benefit
            of Manager).

         e. To hire (subject to availability of necessary funds) or dismiss employees or
            contractors for the Business as necessary in Manager’s discretion to run the day-to-
            day operation of the Business, but only after obtaining the consent of the Trustee,
            which consent shall not be unreasonably withheld or delayed.

         f. To assure that the employment, payroll, and other similar employee related taxes
            are paid in a timely manner on behalf of the Trustee, subject to availability of
            necessary funds, and Trustee’s approval of expenditure of same, which approval
            shall not be unreasonably withheld or delayed.

         g. To manage and operate the Business in a businesslike manner governed by the
            reasonable prudent business standard, and in compliance with all applicable local,
            state, and federal ordinances, laws, and regulations, and subject to availability of
            necessary funds, and Trustee’s approval of expenditure of same, which approval
            shall not be unreasonably withheld or delayed.

         h. To pay, subject to availability of necessary funds, all wages, commissions, fees for
            utilities, withholding taxes, business and property taxes, and all other expenses,
            insurance, taxes, and maintenance and repair costs regarding the Business,
            attributable to the term hereof, and regarding the Business fixtures, equipment, and
            property, subject to approval of the Trustee, which approval shall not be
            unreasonably withheld or delayed.

         i. To cause the operations of the Business to be performed during all reasonably
            scheduled operating hours and during all normal operating days of the week, subject




                                                                                    EXHIBIT A
                                                                                     Page 13
Case 8:23-ap-01046-SC         Doc     Filed 07/10/23 Entered 07/10/23 14:33:51             Desc Main
                                    Document     Page 17 of 30



                to availability of necessary funds as approved by the Trustee, , which approval shall
                not be unreasonably withheld or delayed.

            j. To deposit all receipts from the activities of the Business in the bank depositories
               selected by Trustee.

            k. To perform, subject to availability of necessary funds and the consent of the
               Trustee, which consent shall not be unreasonably withheld or delayed, such other
               and further duties which are consistent with the management of the activities of the
               Business in the ordinary course thereof.

            l. To keep proper records of all income, expenses, and of all transactions relative to
               the operation of the Business, and to furnish to Trustee on a monthly basis, financial
               statements and related reports related to the operation of the Business. Manager
               acknowledges that all books and records regarding operation of the Business shall
               be maintained as Richard Marshack, Trustee of the Estate of Litigation Practice
               Group.

            m. To pay current rent as it falls due on any lease(s) of property, real or personal, used
               by the Business, except for any non-payment based on a good-faith and bona fide
               dispute, subject to availability of necessary funds as approved by the Trustee, which
               approval shall not be unreasonably withheld or delayed.

            n. To comply with all orders of the Court and all laws applicable to LPG and the
               Business

            o. To preserve all records and documents of the Business and to only use software,
               venders, usernames and passwords approved by the Trustee. Trustee and his agents
               to have full access.



     3. Limitation of Power and Scope of Authority. During the term hereof, Manager may
 conduct the Business in the ordinary course of business, PROVIDED it be in accordance with the
 terms of the Order. Manager shall not, without the prior written consent of Trustee, which consent
 shall not be unreasonably withheld or delayed, knowingly effect or take any action or omit or fail
 to take any action which act, omission, or failure that would result in the occurrence of any of the
 following:

            a. a violation of the Order;

            b. a removal of the Manager’s fiduciary duties;

            c. the expiration of any material licenses or permits issued by any governmental
               authority to the Business;




                                                                                         EXHIBIT A
                                                                                          Page 14
Case 8:23-ap-01046-SC         Doc     Filed 07/10/23 Entered 07/10/23 14:33:51             Desc Main
                                    Document     Page 18 of 30



            d. entering into any, or amendment of any existing, personal property lease, service
               agreement, maintenance contract or other agreement not terminable by the
               Company on 30 days notice without penalty or premium;

            e. the imposition of any liens on the assets of the Business;

            f. acquire, purchase, market or otherwise agree to represent or sign up new clients
               prior to the consummation, and the Court’s approval, of the Asset Purchase
               Agreement, or any other sale of the Business as may be required and/or approved
               by the Trustee and/or the Court;

            g. the sale of any of the assets of the Business;

            h. any attempt to bind or otherwise compel the Business to merge or consolidate or
               agree to merge or consolidate with any entity in any manner.

            i. the termination or cancellation of any agreements among the Business and any of
               its clients, except where the Business agreed to provide services to the client, those
               services have been provided in full, and the Business has been paid in full;

            j. the creation of any indebtedness;

            k. the making of any alterations to the real property on which the Business is situated
               (“Property”), and improvements therein;

            l. terminating the relationship of the Business with any existing vendors of goods or
               services to the Business, except in the ordinary course of business; or,

            m. entering into any commitment or agreement to cause or do any of the foregoing.

    For avoidance of doubt, Manager’s inability to properly operate the Business due to the
    lack of sufficient funds shall not constitute an omission or failure by Manager to act under
    the terms of this Agreement.

     4. Insurance and Rental. Subject to the availability of necessary funds, Manager shall cause
 the Business to maintain comprehensive general liability insurance, professional liability
 insurance, and cyber liability insurance in amounts customary in the industry, with the Manager
 and Trustee named as additional insureds. Subject to the availability of necessary funds, the
 Business shall further maintain excess coverage: 1) to the extent coverage under the Business’s
 primary coverage falls short of industry standards; or 2) to the extent excess coverage is standard
 in the industry. Subject to the availability of necessary funds, the Business shall maintain worker’s
 compensation insurance and other policies as required by law. Business shall provide Trustee,
 with all certificates of insurance from the insurer(s) or other reasonable evidence of payment of
 premiums due and renewal thereof on a quarterly basis or upon request by the Trustee.

    5. Payment of Expenses. Subject to the availability of necessary funds and Court approval of
 an order to use Estate funds on hand for this purpose, Manager shall be responsible for the
 payment, when due, of all expenses of operating the Business which accrue after the Effective



                                                                                         EXHIBIT A
                                                                                          Page 15
Case 8:23-ap-01046-SC         Doc     Filed 07/10/23 Entered 07/10/23 14:33:51              Desc Main
                                    Document     Page 19 of 30



 Date and shall only use revenues not arising from the Business, but only from any funds available
 from the approved Interim Financing Order, entered June 22, 2023 [Docket No. 131] and July 3,
 2023 [Docket No. 169] or any other revenues that the Court deems appropriate for the Trustee to
 utilize, , only with the consent of the Trustee, and to the extent the funds are available to pay such
 expenses for this purpose, (i) revenues shall not include any premiums for credit life and accident
 and health contracts, which shall be paid to the appropriate insurance companies, and (ii) expenses
 shall include all actual out-of-pocket expenditures and all expenses accrued and accruable during
 the term of this Agreement attributable to the operation of the Business during the term of this
 Agreement (including, without limitation, utilities, lease payments, taxes (other than franchise,
 income or excise taxes of the Trustee which shall be the responsibility of Trustee to pay), employee
 salaries, compensation and benefits, repairs, and maintenance, the costs of all contracts related to
 the operation of the Business, supplies, and the pro rata portion of any prepaid expenses) (but shall
 not include amortization or depreciation expenses).

     6. Recordkeeping. During the term hereof, Manager shall maintain adequate books, accounts
 and records so as to facilitate the timely computation and accounting of its activities as herein
 provided. In this regard, all activities of Manager with respect to the Business to be managed
 hereunder shall be effected, if needed, through the maintenance and operation of a separate banking
 account or accounts to be established with a financial institution selected by the Trustee. With
 respect to revenues of the Business which Manager receives and which are attributable to
 operations before the Effective Date of this Agreement, Manager shall not deposit such revenues,
 but shall use commercially reasonable efforts to deliver them to Trustee in the same form received,
 with any necessary endorsement, to Trustee, and any such revenues deposited by Manager for any
 reason shall be promptly transferred to Trustee. Trustee agrees to make available to Manager all
 data, records and documents pertaining to the Business which Manager may require to properly
 exercise its duties hereunder.

    7. Confidentiality.

            a. Manager shall hold in strict confidence and preserve as confidential the terms and
               conditions of this Agreement and all information related to the Business or its past,
               present, or prospective clients or vendors that may be obtained by Manager as a
               result of this Agreement, including without limitation personal identifiable
               information, pricing, methods, processes, financial data, lists, apparatus, statistics,
               programs, research, developments, client privileges, and related information
               (collectively, “Confidential Information”). Except as required by Court Order, a
               validly issued subpoena, or as other required by law, Manager shall not, without
               first obtaining Trustee’s prior written consent, disclose to any other party, or use
               for any purpose other than as expressly permitted or required for performance under
               this Agreement, any Confidential Information. Manager shall protect the
               Confidential Information using not less than the same care with which it treats its
               own Confidential Information of a like nature, but at all times shall use at least
               reasonable care.

            b. The parties acknowledge that any threatened or actual breach of this Section shall
               constitute immediate, irreparable harm to Trustee and the Business for which
               monetary damages will not be an adequate remedy and as to which Trustee is



                                                                                          EXHIBIT A
                                                                                           Page 16
Case 8:23-ap-01046-SC         Doc     Filed 07/10/23 Entered 07/10/23 14:33:51            Desc Main
                                    Document     Page 20 of 30



                entitled to seek equitable remedies from a court of competent jurisdiction without
                the requirement of posting a bond or undertaking or proving injury as a condition
                for relief.

            c. In the event Manager is required by law to disclose the Business’s Confidential
               Information, Recipient shall (a) promptly notify Trustee; (b) where feasible,
               provide Trustee the opportunity to challenge the disclosure at Manager’s reasonable
               cost; (c) limit the disclosure to that information legally required to be disclosed;
               and (d) use commercially reasonable efforts to obtain confidential treatment of all
               disclosed information.

     8. Information Security. Manager shall, and shall cause its subcontractors and all third parties
 to which it discloses or provides access to Confidential Information to, implement and maintain a
 comprehensive written information security program consistent with applicable law and industry
 standards, sufficient to protect the security, confidentiality, and integrity of its networks and
 systems, and to secure Confidential Information in Manager’s custody or control from
 unauthorized access, destruction, use, loss, modification, and disclosure. In the event Manager
 learns of any actual or suspected unauthorized access to or disclosure of Confidential Information,
 Manager shall provide to Trustee prompt written notice no later than one (1) business day
 following discovery of such incident, and shall immediately cooperate, at Manager’s expense, with
 Trustee’s investigation, remediation, and response efforts. Manager shall use, store, disclose, and
 otherwise process the Confidential Information only: (i) for the purpose of performing its
 obligations under the Agreement; (ii) pursuant to documented instructions from Trustee, or (iii)
 when required to do so by applicable law, and Manager informs Trustee of that legal requirement
 before processing and minimizes such disclosure to the maximum extent permitted by law.
 Manager shall not use, store, disclose, or otherwise process Confidential Information for a
 commercial purpose other than providing the Services pursuant to the Agreement. Manager shall
 reasonably cooperate with Trustee’s efforts to comply with any law or regulation governing
 Confidential Information.

    9. Non-Solicitation.

            a. Except as it relates to the operation of the Business, Manager shall not knowingly
               solicit or hire as a result of such solicitation (including as an independent
               contractor) any employee or contractor of the Business (who is an employee or
               contractor of the Business as of the Effective Date) for the term of this Agreement
               and four (4) months thereafter without the express written consent of Trustee.

            b. Manager shall not directly or indirectly, on its own behalf or on behalf of any other
               person(s), solicit or otherwise attempt to establish any business relationship with




                                                                                        EXHIBIT A
                                                                                         Page 17
Case 8:23-ap-01046-SC       Doc     Filed 07/10/23 Entered 07/10/23 14:33:51           Desc Main
                                  Document     Page 21 of 30



               any client of the Business for the term of this Agreement and four (4) months
               thereafter without the express written consent of Trustee.

           c. If an employee or contractor of Business leaves on their own accord, Manager is
              not precluded from hiring them upon closing of a court approved sale of Debtor’s
              assets.

           d. The foregoing non-solicitation provisions shall no longer apply upon closing of a
              court-approved sale of Debtor’s assets to Manager.


    10. Compensation.

           a. Manager shall be paid a management fee of Sixty Thousand Dollars ($60,000); or
              $2,000 a day, for the first month; said fee to include compensation for both Russell
              Squires and Gary DePew; and $40,000.00 a month thereafter, or $1,333.33 a day,
              for the months thereafter; said fee to include compensation for both Russell Squires
              and Gary DePew; but not longer than 3 months total. If Manager does not perform
              for the entire month, the amount will be calculated on a day-to-day basis. On the
              last day of each month, Manager shall provide an itemized invoice, in a format
              reasonably acceptable to Trustee, detailing the payment due to Manager. In
              addition, reasonable general expenses for the Manager, including reasonable travel,
              meal and hotel expenses, will be covered by the Estate, at the Trustee’s discretion,
              which discretion shall not be unreasonably exercised, and included on the invoice.
              MANAGER HEREBY ACKNOWLEDGES AND AGREES THAT IT WILL
              NOT BE COMPENSATED FROM ANY PAYROLL FUNDS AND THAT
              PAYMENT WILL NOT BE MADE UNTIL AFTER CLOSING OF A SALE
              OF DEBTOR’S ASSETS; UNLESS THE COURT ENTERS AN ORDER
              ALLOWING FUNDS TO BE USED BY THE ESTATE TO OPERATE THE
              BUSINESS; AND ENTRY OF A BANKRUPTCY COURT ORDER
              APPROVING THE PAYMENT OF COMPENSATION TO MANAGER.
              MANAGER FURTHER ACKNOWLEDGES THAT IT WILL BE PAID
              PRO-RATA WITH ALL OTHER ADMINISTRATIVE PROFESSIONALS..
              Neither Trustee nor the LPG estate shall have any liability to Manager outside of
              Manager’s right to receive the specified rate of compensation and expenses from
              the funds received during Manager’s operation of LPG’s business.

           b. All accounting matters shall be handled by an accountant of Manager’s choice, with
              the consent of the Trustee, and all accounting shall be in conformity with ordinary
              accounting principles and practices ordinarily applied to law firms similar in size
              and scope to that of the Business. The accountant shall provide any and all
              information to Trustee and his agents.

     11. Termination. This Agreement may be terminated under the following circumstances (each,
 an “Event of Termination”):




                                                                                     EXHIBIT A
                                                                                      Page 18
Case 8:23-ap-01046-SC         Doc     Filed 07/10/23 Entered 07/10/23 14:33:51              Desc Main
                                    Document     Page 22 of 30



            a. The non-breaching party may terminate the Agreement upon a material breach by
               the other party of the Agreement, , if such breach is not cured (assuming it is
               curable) within thirty (30) calendar days after written notice is given to the
               breaching party’

            b. The closing of the sale of Debtor’s assets;.

            c. The termination by the Court of this Agreement;.

            d. Unilaterally by Trustee; or

            e.    On the date that is the last day of the third month after entry of an order approving
                 this Agreement

     12. Effect of Termination. Upon an Event of Termination, all obligations of the parties under
 this Agreement shall terminate, except for those obligations listed in Section 15.f (including the
 continuing obligation to pay Manager as set forth in Section 10). Upon termination, Manager
 shall promptly return to Trustee all Confidential Information and destroy any copies or other
 records of the Confidential Information in Manager’s possession. Notwithstanding the
 foregoing, Manager may retain a copy of the documents relating to its operation of the business
 to the extent necessary to comply with Manager’s tax and other legal obligations.

     13. Indemnification. Manager shall indemnify and save Trustee harmless from all liability,
 loss, damage, cost, claim, or expense, including reasonable counsel fees and disbursements,
 incurred by Trustee by reason of any wrongful act or omission, negligent, tortious or otherwise, of
 Manager or any agent or employee of Manager.

     14. Notices. Notices, statements, and other communications to be given under the terms of
 this Agreement shall be in writing and delivered (i) by hand against receipt, or (ii) by certified or
 registered mail, return receipt requested, addressed as follows:

            a. If to the Trustee:
                       Richard Marshack
                       870 Roosevelt
                       Irvine, CA 92620

                 With a copy to:

                       Dinsmore & Shohl LLP
                       c/o Christopher Celentino
                       655 W. Broadway
                       Suite 800
                       San Diego, CA 92101

                 And

                       Marshack Hays LLP




                                                                                          EXHIBIT A
                                                                                           Page 19
Case 8:23-ap-01046-SC       Doc     Filed 07/10/23 Entered 07/10/23 14:33:51           Desc Main
                                  Document     Page 23 of 30



                    Attn: Ed Hays
                    870 Roosevelt
                    Irvine, CA 92620

           b. If to Manager:
                      Resolution Processing, LLC
                      c/o Russell Squires
                      1314 E Las Olas Blvd. #2428
                      Fort Lauderdale, FL 33301

              With a copy to:
                      Joel S. Magolnick, Esq.
                      Marko & Magolnick, P.A.
                      3001 SW 3rd Avenue
                      Miami, FL 33129

    15. Miscellaneous.

           a. Neither party shall assign or transfer or permit the assignment or transfer of its
              rights and obligations under this Agreement without the prior written consent of the
              other.

           b. This Agreement shall be binding upon and inure the benefit of the parties hereto
              and to their respective heirs, successors, assigns and representatives.

           c. This Agreement constitutes the entire understanding between the parties with
              respect to the subject matter hereof.

           d. This Agreement will be governed by the laws of the State of California and the
              Bankruptcy Code and Rules. Any claim, dispute, or matter arising under or in
              connection with this Agreement shall be brought exclusively in the Bankruptcy
              Court for the Central District of California, in Santa Ana, California.

           e. This Agreement may be amended only by a written instrument duly executed by
              authorized representatives of both parties.

           f. Sections 8, 9, 10, 12, 13, 14, and 15 shall survive termination of this Agreement.

           g. This Agreement may be executed in several counterparts, each of which shall be an
              original, but all of which shall constitute one in the same instrument.

           h. This Agreement is subject to the approval of the Bankruptcy Court and may be
              unilaterally modified by the Bankruptcy Court for good cause shown and all parties
              retaining the right to terminate if this modification is a material burden.




                                                                                     EXHIBIT A
                                                                                      Page 20
Case 8:23-ap-01046-SC      Doc     Filed 07/10/23 Entered 07/10/23 14:33:51        Desc Main
                                 Document     Page 24 of 30



 IN WITNESS WHEREOF, the parties have executed this Agreement on the date and year first
 written above.


  MANAGER:                                     TRUSTEE:
  RESOLUTION PROCESSING, LLC                   Richard Marshack, solely in his capacity as
                                               Chapter 11 Trustee of LITIGATION
                                               PRACTICE GROUP, LLC, United States
                                               Bankruptcy Court, Central District of California
  By: Russell Squires
  Its: Manager




 Approved:

 _______________________
 Gary DePew




                                                                                 EXHIBIT A
                                                                                  Page 21
Case 8:23-ap-01046-SC   Doc     Filed 07/10/23 Entered 07/10/23 14:33:51    Desc Main
                              Document     Page 25 of 30




                                                                           EXHIBIT A
                                                                            Page 22
Case 8:23-ap-01046-SC                 Doc      Filed 07/10/23 Entered 07/10/23 14:33:51                                Desc Main
                                             Document     Page 26 of 30


                                   PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
 is:     655 W. Broadway, Suite 800, San Diego, California 92101

 A true and correct copy of the foregoing document entitled (specify):

 AMENDED NOTICE OF MOTION FOR: AMENDED CHAPTER 11 TRUSTEE’S MOTION TO APPROVE
 MANAGEMENT AGREEMENT WITH RESOLUTION PROCESSING; MEMORANDUM OF POINTS AND
 AUTHORITIES; DECLARATION OF RICHARD A. MARSHACK IN SUPPORT THEREOF; AND EXHIBITS

 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
 and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
 General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
 document. On July 10, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
 and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
 the email addresses stated below:

                                                                                 Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On July 10, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
 case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
 States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
 declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                 Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
 method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on July 10, 2023, I
 served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
 consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
 here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
 than 24 hours after the document is filed.

                    JUDGE'S COPY
                    The Honorable Scott C. Clarkson
                    United States Bankruptcy Court
                    Central District of California
                    Ronald Reagan Federal Building and Courthouse
                    411 West Fourth Street, Suite 5130 / Courtroom 5C
                    Santa Ana, CA 92701-4593

                                                                                 Service information continued on attached page

 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


   July 10, 2023                  Caron Burke                                             /s/ Caron Burke
   Date                          Printed Name                                             Signature


      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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Case 8:23-ap-01046-SC                 Doc      Filed 07/10/23 Entered 07/10/23 14:33:51                                Desc Main
                                             Document     Page 27 of 30


 1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

 Eric Bensamochan on behalf of Interested Party Eric Bensamochan
 eric@eblawfirm.us, G63723@notify.cincompass.com

 Ronald K Brown on behalf of Creditor SDCO Tustin Executive Center, Inc.
 ron@rkbrownlaw.com

 Christopher Celentino on behalf of Plaintiff Richard A. Marshack
 christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

 Christopher Celentino on behalf of Trustee Richard A Marshack (TR)
 christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

 Shawn M Christianson on behalf of Interested Party Courtesy NEF
 cmcintire@buchalter.com, schristianson@buchalter.com

 Randall Baldwin Clark on behalf of Interested Party Randall Baldwin Clark
 rbc@randallbclark.com

 Leslie A Cohen on behalf of Interested Party Courtesy NEF
 leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com

 Daniel A Edelman on behalf of Creditor Carolyn Beech
 dedelman@edcombs.com, courtecl@edcombs.com

 Christopher Ghio on behalf of Plaintiff Richard A. Marshack
 christopher.ghio@dinsmore.com, Kristina.Heller@Dinsmore.com

 Christopher Ghio on behalf of Trustee Richard A Marshack (TR)
 christopher.ghio@dinsmore.com, Kristina.Heller@Dinsmore.com

 Jeffrey I Golden on behalf of Interested Party Courtesy NEF
 jgolden@go2.law,
 kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;gestrada@wgllp.com;golden.j
 effreyi.b117954@notify.bestcase.com

 Richard H Golubow on behalf of Creditor Debt Validation Fund II, LLC
 rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

 Richard H Golubow on behalf of Creditor MC DVI Fund 1, LLC
 rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

 Richard H Golubow on behalf of Creditor MC DVI Fund 2, LLC
 rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

 D Edward Hays on behalf of Interested Party Courtesy NEF


      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


 June 2012                              F 9013-.1.PROOF.SERVICE
Case 8:23-ap-01046-SC                 Doc      Filed 07/10/23 Entered 07/10/23 14:33:51                                Desc Main
                                             Document     Page 28 of 30



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 June 2012                              F 9013-.1.PROOF.SERVICE
Case 8:23-ap-01046-SC                 Doc      Filed 07/10/23 Entered 07/10/23 14:33:51                                Desc Main
                                             Document     Page 29 of 30




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 June 2012                              F 9013-.1.PROOF.SERVICE
Case 8:23-ap-01046-SC                 Doc      Filed 07/10/23 Entered 07/10/23 14:33:51                                Desc Main
                                             Document     Page 30 of 30




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 June 2012                              F 9013-.1.PROOF.SERVICE
